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                    Exhibit B
NFL Lawsuits for Football Concussions#ixzz3CByVHxui
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                               Up-to-Date Information on NFL Football Concussions
                               After years of denying the scientific evidence that links repeated
                               football concussions with long-term brain damage, the NFL is currently
                               in the hot seat. A flood of multi-district NFL lawsuits are finally making
                               this powerful organization take notice.

                               As Plaintiffs’ Co-Lead Counsel, we deeply care about this topic—and
                               about keeping the public up-to-date on the latest findings and pursuit
                               of justice. We encourage those of you who would like to simply stay
                               abreast of this volatile topic or those who want helpful information for
                               a possible lawsuit, to bookmark this page.



                               What’s Currently                           An Act of Negligence
                               Happening?                                 While knowing the real truth
                                   Thousands of players who               behind concussions in football,
                                   have suffered football                 the NFL concealed the truth to
                                   concussions are filing NFL             profit at the expense of the
                                   lawsuits.                              players' health. The damage
                                                                          caused by this fraud and
                                   Christopher A. Seeger has              negligence has caused painful
                                   been appointed as Co-Lead of           and irreversible damage to many
                                   the multi-district litigation          players and their families.
                                   (MDL) effort. More
                                                                          The NFL, which formed its own
                                                                          institute to study the effects of
                                                                          football concussions, is believed
                               In the News                                to have misled players about the
                                   Recent news has been                   harms of football concussions for
                                   flooded with terrible stories          their own financial gain. A
                                   of former football players             culture was created where
                                   who have suffered tragic               players were encouraged by
                                   ends.                                  coaches and franchises to play
                                                                          hurt and to contribute at any
                                   In 1994, The National
                                                                          possible cost. Repeated football
                                   Football League created the
                                                                          concussions have serious long-
                                   Mild Traumatic Brain Injury
                                                                          term consequences and have
                                   Committee to investigate the
                                                                          negatively affected the quality
                                   effects of concussions in
                                                                          of life of many former players.
                                   football.



http://www.seegerweiss.com/football-concussions/#ixzz3CByVHxui[9/3/2014 11:25:37 AM]
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                                   On December 6, 2011, Seeger
                                   Weiss reports representing 11          Link to CTE and
                                   former NFL players suffering           Alzheimer's
                                   from football concussion-              Frequent brain trauma or
                                   related health issues. New             multiple football concussions, at
                                   release
                                                                          the rate of former professional
                                   On December 21, 2011, the              football players who are filing
                                   NFL reported that an                   NFL lawsuits, has shown to cause
                                   independent trainer would be           serious mental health problems.
                                   at each NFL game to watch              Thousands of football players,
                                   for potential football                 many of whom are thought to
                                   concussions. Read more                 have suffered more than one
                                                                          hundred mild traumatic brain
                                                                          injuries, are dealing with
                                                                          horrible and debilitating
                                                                          symptoms.

                                                                          Multiple medical studies have
                                                                          found direct correlation
                                                                          between football concussions
                                                                          and suffering from symptoms of
                                                                          chronic traumatic
                                                                          encephalopathy, also known as
                                                                          CTE. CTE is believed to be the
                                                                          most serious and harmful disease
                                                                          that results from NFL and
                                                                          concussions. CTE is a progressive
                                                                          degenerative disease that causes
                                                                          damage to the brain tissue and
                                                                          the accumulation of Tau
                                                                          Proteins. Tau proteins aid in the
                                                                          onset of dementia and have
                                                                          been linked to the development
                                                                          of Alzheimer’s disease.
                                                                          Symptoms of CTE include:

                                                                              Dementia
                                                                              Memory loss
                                                                              Depression
                                                                              Aggression
                                                                              And difficulty controlling
                                                                              impulses



                                                                          Some Players Experienced
                                                                          More Than 100 Mild Brain
                                                                          Injuries
                                                                          Football concussions interfere
                                                                          with normal brain function and
                                                                          cause a variety of physical,
                                                                          cognitive, and emotional
                                                                          symptoms. The most common
                                                                          and immediate symptoms of a
                                                                          concussion are a headache,
                                                                          dizziness, vomiting, and
                                                                          temporary breakdown in motor



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                                                                          coordination.

                                                                          Confusion, disorientation, and
                                                                          difficulty focusing can also be
                                                                          NFL and concussion related side-
                                                                          effects as well.

                                                                          When a concussion in football
                                                                          occurs, the force is strong
                                                                          enough that the cerebrospinal
                                                                          fluid (which protects each of our
                                                                          brains) cannot protect the brain
                                                                          from absorbing the force. A
                                                                          football concussion doesn’t
                                                                          necessarily occur from direct
                                                                          trauma to the head, but can also
                                                                          result from an impulsive force
                                                                          like whiplash. Diagnosis of a
                                                                          football concussion is based on a
                                                                          combination of physical and
                                                                          neurological examinations.




                               Seeger Weiss LLP

                                 Sub pages:

                                 Asbestos

                                 Class Actions

                                     Class Counsel

                                     Class Action Process

                                     Commercial Actions

                                     Consumer Actions

                                     ERISA Lawyers

                                     Securities Actions

                                     Product Liability Actions

                                 Commercial Litigation

                                 Defective Products

                                     AZEK Decking Problems

                                     Chinese Drywall


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                                     Power Morcellator and Uterine Cancer Risk

                                     Talcum Powder and Ovarian Cancer Risk

                                 Drug Injury

                                     Accutane Legal Resource Center

                                     Actos Bladder Cancer

                                     Drugs In Class Action Litigation

                                     Drugs Watched by the FDA

                                     Fosamax Femur Fractures

                                     GranuFlo & NaturaLyte Recall

                                     Hydroxycut Resource Center

                                     Sleeping Pill Dangers

                                     Pradaxa Lawsuit

                                     Selective Serotonin Reuptake Inhibitors (SSRIs)

                                     Topamax Birth Defects

                                     Tylenol

                                     Yaz Birth Control Legal Resource Center

                                     Zocor Muscle Injury

                                     Benicar Lawsuit

                                     Testosterone Lawsuit

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                                 Personal Injury

                                     Accidents

                                     Auto Accidents

                                     Catastrophic Injuries

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                                     NFL Football Concussions

                                     Personal Injury Track Record

                                     Workplace Injuries

                                 Securities Fraud

                                     Aftermath of Financial Crisis

                                     Financial Terms

                                     How to Protect Yourself

                                     Investment Fraud

                                     Strategy Investments Gone Wrong

                                     Subprime Mortgage Fraud

                                 Toxic Exposure

                                     Chemical Exposure

                                     Glossary of Toxic Substances

                                     Gulf Oil Spill

                                     Indoor Toxins


                                 Don't Suffer Alone
                                 Are you a professional football
                                 player who has suffered from a concussion-related disease?

                                 Free Case Evaluation

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                                        Recipient of The National Law Journal's Plaintiffs Hot List

                                  Full Name                                        Email

                                  Phone


                                 Have you experienced health problems due to a NFL concussion?
                                   Yes    No

                                 Please provide any other information you would like us to know in
                                 the box below




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